           BEFORE THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF WISCONSIN

PAMELA D. FERRILL
3809 Mammoth Trail
Madison WI 53719
                                             Case No.:
      Plaintiff,

v.
                                                         JURY DEMAND
OAK CREEK-FRANKLIN
JOINT SCHOOL DISTRICT
7630 S. 10TH St.
Oak Creek, Wisconsin 53154; and

OAK CREEK-FRANKLIN JOINT
SCHOOL DISTRICT BOARD OF
EDUCATION
7630 S. 10th Street
Oak Creek, Wisconsin 53154

      Defendants.

                                     COMPLAINT



      NOW COMES Plaintiff, Pamela D. Ferrill, by her attorneys, Hawks Quindel,

S.C., through Nicholas E. Fairweather and Colin B. Good, and hereby states the

following as her Complaint in the above-captioned matter:

                        I.     NATURE OF PROCEEDINGS

      1.      This civil action is brought pursuant to § 1981 of the Civil Rights Act of

1866, as amended by the Civil Rights Act of 1991 (hereinafter “ § 1981”) and Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended (“Title




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VII”), to redress the termination or denial of Plaintiff’s employment based on her

race, color, national origin, sex and in retaliation for Plaintiff’s protected activity.

                          II.   JURSIDICTION AND VENUE

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1331, 42 U.S.C. § 2000e-5, and Section 102 of the Civil Rights Act of 1991, 42 U.S.C

§ 1981a.

       3.      Venue is proper in the Eastern District of Wisconsin under 28 U.S.C. §

1391 because Defendant operates schools in this District and because substantial

parts of the events or omissions giving rise to the claim occurred in this District.

                                    III.   PARTIES

       4.      At all times relevant to this complaint, Pamela D. Ferrill, (“Ms.

Ferrill”) was an adult citizen residing and working within Eastern Judicial District

of Wisconsin.

       5.      At all times relevant hereto, Oak Creek-Franklin Joint School District

(“the District”), was a not-for-profit school district organized and operating under

the Wisconsin Statutes, located in Oak Creek, Wisconsin and employing more than

fifteen (15) employees.

       6.      At all times relevant hereto, Oak Creek-Franklin Joint School District

Board of Education (the “Board”) was the managing body of the Oak Creek-Franklin

Joint School District and made final decisions regarding the offering, extension and

termination of Ms. Ferrill’s employment contract. It consisted of five elected

members.



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      7.      The District operates Edgewood Elementary School (“Edgewood”),

located at 8545 S. Shepard Ave., Oak Creek, Wisconsin.

              IV.   EXHAUSTION OF ADMINISTRATIVE REMEDIES

      8.      Ms. Ferrill filed a timely Charge of Discrimination with the Wisconsin

Department of Workforce Development (“DWD”) and the Federal Equal

Employment Opportunities Commission (“EEOC”) on September 20, 2010, within

300 days after the unlawful employment practices occurred, as described herein.

      9.      On January 24, 2013, the EEOC issued a finding of reasonable cause

to believe that the District violated Title VII of the Civil Rights Act of 1964, as

amended, on the basis of Ms. Ferrill’s race, color, national origin and sex and that

the District retaliated against Ms. Ferrill, also in violation of Title VII of the Civil

Rights Act of 1964, as amended. On April 26, 2013, the United States Department

of Justice, Civil Rights Division, issued Ms. Ferrill a Notice of Right to Sue and this

action is brought within 90 days after her receipt of said Notice. The April 26, 2013

Notice of Right to Sue was received by Ms. Ferrill, through her attorney, on May 3,

2013. This action is brought within ninety days of Ms. Ferrill’s receipt of the Notice

of Right to Sue. A true and correct copy of the Right to Sue Letter is attached hereto

as Exhibit A.

                          V.     FACTUAL ALLEGATIONS

      10.     Ms. Ferrill began working for the District as the Principal of Edgewood

Elementary School on or about July 1, 2008.




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      11.    At the time of her hire, the District employed approximately 425

teachers and professional staff, 220 support staff, and 21 administrators.

      12.    Ms. Ferrill was the sole African-American employee employed by the

District within Edgewood at the time of her hire.

      13.    The District enrolled approximately 6,016 students in 2008-2009, of

which twenty-three percent (23%) were students of color.

      14.    In October 2008, Ms. Ferrill received a number of reports about

racially-insensitive remarks being made toward minority students and one of the

school buses being labeled a “ghetto bus.”

      15.    Ms. Ferrill addressed the racial remarks and the “ghetto bus” comment

with the staff at Edgewood, but lingering racial tensions continued to exist between

faculty, students, and the administration.

      16.    Following the October 2008 incidents, Edgewood staff began a pattern

of accusing Ms. Ferrill of inappropriately attributing racial issues into Edgewood

problems, issues and conflict.

      17.    The District, through its administrators, attempted to discredit Ms.

Ferrill before her staff, creating mistrust and division among Edgewood’s teachers.

      18.    One such occasion occurred on November 19, 2009, when the

Superintendent, Sara Burmeister, accused Ms. Ferrill of refusing to meet with two

white teachers, even though Ms. Ferrill had already arranged a meeting with the

two individuals. Burmeister acted solely on the statements of an out-of-school union




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representative who was not present and did not witness any of the events

comprising Burmeister’s complaint.

        19.   Superintendent Burmeister insisted that Ms. Ferrill had intentionally

refused to meet with one white teacher even though the teacher confirmed that Ms.

Ferrill had indeed requested and scheduled a meeting to discuss placement of a

student-teacher at Edgewood. Burmeister refused to give credence to Ms. Ferrill’s

statements regarding the meeting, even though she had no basis for such a refusal.

        20.   Despite confirmation from Ms. Ferrill and one of the teachers directely

involved that Ms. Ferrill had, in fact, scheduled the meeting, Superintendent

Burmeister placed Ms. Ferrill on a performance improvement plan after a

November 23, 2009 meeting between Ms. Ferrill and Burmeister.

        21.   The performance improvement plan was largely based on inaccurate

reports by staff that Superintendent Burmeister used support her insistence that

Ms. Ferrill’s performance was somehow deficient.

        22.   Fearing that her employment was in jeopardy based on factors such as

her race, Ms. Ferrill hired an attorney in November, 2009 to request her personnel

file in an effort to evaluate her employment rights and remedies.

        23.   Ms. Ferrill’s counsel requested her personnel file on December 21,

2009.

        24.   On December14, 2009, Ms. Ferrill was the subject of a report to the

Defendant Board calling into question her work performance.




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       25.    Ms. Ferrill had requested flexibility in scheduling a meeting to discuss

the ongoing disputes with Burmeister to allow Ms. Ferrill to arrange for a

companion to join her. The District refused to be flexible so Ms. Ferill arranged for

legal counsel to join her. Ms. Ferrill and her attorney requested the ability to audio

record the meeting but the District refused. Later, the District produced a letter

that it claimed memorialized the meeting but it was inaccurate.

       26.    On January 20, 2010, Ms. Ferrill delivered a letter to the Defendant

Board, in which she detailed a series of racial issues and concerns that had not been

properly addressed by the District.

       27.    On January 21, 2010, the District directed Ms. Ferrill to leave

Edgewood immediately while it investigated alleged incidents of Ms. Ferrill’s

misconduct, described by the District as “conduct that may be detrimental to the

interests of the District.”

       28.    The District informed Edgewood’s students’ parents that Ms. Ferrill

was being investigated for conduct detrimental to the District though no such

conduct was ever detailed and communicated to Ms. Ferrill, the parents or

Edgewood staff. The District failed to explain that Ms. Ferrill had been placed on

leave with pay and that she was prohibited from having any contact with District

staff, students’ parents or the Board.

       29.    The District, through its Human Resources Director, contacted local

law enforcement and requested extra patrolling on school grounds in an apparent




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belief that Ms. Ferrill could potentially act out in a violent or aggressive manner

following her suspension.

      30.      Correspondence from the District’s attorney immediately following her

suspension indicated that Ms. Ferrill’s January 20, 2010, letter to the Board formed

the basis of her discipline.

      31.      The District terminated Ms. Ferrill’s health and dental insurance

coverage, effective June 30, 2010 and her pay, effective July 1, 2010. The District

failed to provide Ms. Ferrill notice of termination of her insurance benefits. The

Board terminated Ms. Ferrill’s employment contract on August 30, 2010.

      VI.     CAUSE OF ACTION: VIOLATION OF PLAINTIFF’S RIGHTS AS
                      GUARANTEED BY 42 U.S.C. § 1981

      32.      Ms. Ferrill realleges and incorporates the allegations contained in

paragraphs 1-31, above.

      33.      The District violated Ms. Ferrill’s right to be free from discrimination

in the terms and conditions of employment – that is, the making, enforcement and

execution of a contractual relationship - on the basis of her race secured to her by §

1981 of the Civil Rights Act of 1866 as amended when she was terminated or denied

employment.

      34.      Ms. Ferrill sustained lost wages and benefits, mental and emotional

distress and lost future earning capacity as a result of the District’s unlawful

conduct.

      35.      The acts of the District herein alleged were carried out maliciously or

with reckless disregard for Ms. Ferrill’s rights.

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       VII. CAUSE OF ACTION: VIOLATION OF PLAINTIFF’S RIGHTS AS
        GUARANTEED BY TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

       36.     Ms. Ferrill realleges and reincorporates the allegations contained in

paragraphs 1-35 above.

       37.     The District violated Ms. Ferrill’s right to be free from discrimination

in the terms and conditions of her employment on the basis of her race, color,

national origin and sex as guaranteed by Title VII of the Civil Rights Act of 1964.

       38.     The District violated Ms. Ferrill’s right to be free from discrimination

as guaranteed by Title VII of the Civil Rights Act of 1964 when it retaliated against

her for the exercise of her right to be free from discrimination and to oppose

discrimination.

   VIII: CAUSE OF ACTION: VIOLATION OF PLAINTIFF’S RIGHT TO FREE
                              SPEECH

       39.     Ms. Ferrill realleges and incorporates the allegations contained in

paragaraphs 1-38, above.

       40.     By taking action against Ms. Ferrill because of her statements made to

the Defendant Board, and made outside of her official responsibilities as a public

employee, Defendants violated Ms. Ferrill’s right to free speech and expression as

guaranteed by the First Amendment to the Constitution of the United States.


       WHEREFORE, Plaintiff demands Judgment against Defendant, awarding

her:

       A.      Appropriate back pay with prejudgment interest, in amounts to be

determined at trial, and other affirmative relief necessary to eradicate the effects of

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Defendant’s unlawful employment practices, including but not limited to rightful

reinstatement and/or front pay;

      B.      Compensation for past and future pecuniary losses resulting from the

unlawful employment practices complained of in the paragraphs above, including

emotional pain, suffering, inconvenience, loss of enjoyment of life, and humiliation

to be determined at trial;

      C.      Compensation for punitive damages for the District’s malicious and

reckless conduct described above in amount to be determined at trial;

      D.      Grant such further relief as the Court deems necessary and proper in

the public interest; and

      E.      An award of reasonable attorney’s fees.

                                  JURY DEMAND

      Plaintiff respectfully requests a jury trial on all questions of fact and law

raised by her complaint.




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Submitted this 28th day of July, 2013.


                                          HAWKS QUINDEL, S.C.
                                          Attorneys for the Plaintiff



                                          /s/ Nicholas E. Fairweather
                                          Nicholas E. Fairweather
                                          WI State Bar Number: 1036681
                                          Colin B. Good
                                          WI State Bar Number: 1061355


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                                                                                              U.S. Department of Justice
                                                                                              Civil Rights Division



TEP:KDW:KLF:jw                                                                                Employment Litigation Section   - PHB
                                                                                              950 Pen&uylvania Avenue, ÃW
D J 170-23-0                                                                                  Washington, DC 20530
                                                                                              w&uw.usdoj. govlcrtletnp



                                                                                              APR

                                                    NOTICE OF RIGHT TO SUE WITHIN 90 DAYS

CERTIFIED MAIL 2018 6453
RETURN RECEIPT REQUESTED

Ms. Pamela Ferrill
c/o Arthur Heitzer, Esquire
Law Office of Arthur Heitzer
633 West Wisconsin Ave, ¹1410
Milwaukee, WI 53203

                                              Re:        Pamela Ferrill v. Oak Creek-Franklin School
                                                         District, EEOC Charac No. 443-2010-01965

Dear Ms. Ferrill:

          It has been determined that the Department of Justice will not file suit on the above-referenced charge of
discrimination that was referred to us by the Equal Employment Opportunity Commission (EEOC). This should not
be taken to mean that the Department of Justice has made a judgment as to whether or not your charge is meritorious.

          You are herebv notified that conciliation in this matter was unsuccessful bv the EEOC. You are further
notified that vou have the right to institute a civil action under Title VII of the Civil Rights Act of 1964, as amended
42 U.S.C. Section 2000e et sea.; against the above-named respondent. If you choose to commence a civil action,
such suit iiiu'st-be'fil'ed'in'the a'tip'r'onriate court within 90 davs of vour receint of this Notice.
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             are returning the files in this matter to EEOC's Chicago District Office. If you or your attorney have
any questions concerning this matter or wish to inspect'the investigative file, please feel f'ree to address your inquiry
to: John P. Rowe, Director, EEOC, 500 W. Madison St., Ste. 2000, Chicago, IL 60661.

                                                                                          Sincerely,

                                                                                       Thomas E. Perez
                                                                                 Assistant Attorney General
                                                                                    Civil Rights Division

                                                                           By:

                                                                                      Karen D. Woodard
                                                                                        Deputy Chief
                                                                       -   "'-'niployinent Litigation Section

cc:         Ms. Painela Ferrill
        """:Oak Creek-Franklin Scliool Disti
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                                                              ict'.;




             EEOC, Chicago District Office




                                                                                                                                      EXHIBIT A
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